                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In re: Michael G. Dombrowski                   )               Case No.: 16-81412-CRJ-11
       SSN: xxx-xx-4413                        )
                                               )
               Debtor.                         )               CHAPTER 11

               DEBTOR’S NOTICE OF EXERCISING HIS FORBEARANCE
                  RIGHTS PURSUANT TO THE CARES ACT OF 2020

       COMES NOW, the Chapter 11 confirmed debtor, Michael G. Dombrowski (the “Debtor”),
and files this pleading to give notice of his election to excise statutory forbearance rights related
to the repayment of certain federally-insured secured claims, and states with more particularly as
follows:

       1.      The Debtor is a real estate investor. His business has experienced a decline in
cashflow and continued volatility in the residential and vacation real estate rental market in relation
to the economic downturn arising from the COVID-19 pandemic. To date, the Debtor has remained
current on his plan of reorganization obligations and payments schedules. However, the ongoing
uncertainty of the COVID-19 pandemic create uncertainty and hardship for the Debtor and his
business.

       2.      The Coronavirus Aid, Relief, and Economic Security Act of 2020 (the “CARES
Act”) allows borrowers experiencing financial hardship with certain federally backed mortgages
and to request and obtain a forbearance of payments on those notes for up to 180 days (the
“CARES Act Forbearance”). Receipt of CARES Act Forbearance is based on the borrower’s
request and not tied to an application or other eligibility.

        3.     The following secures claims in the Debtor’s Chapter 11 case are eligible for
CARES Act Forbearance:

                                                                             Estimated      Current
     Claim           Claim Servicer                    Property
                                                                              Balance        P&I
              Rushmore Loan
     Claim    Management Services              1701 Strand, Unit 8
                                                                           $337,571.68     $1,619.00
     20-1     P.O. Box 55004                   Tybee Island GA 31328
              Irvine, CA 92619-2708




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              SN Servicing Corporation
     Claim                                   2564 Navarra Dr #115
              323 Fifth Street                                            $160,220.95     $782.23
     33-2                                    Carlsbad CA 92009
              Eureka, CA 95501
              SN Servicing Corporation
     Claim                                   200 Walker Ave
              323 Fifth Street                                            $357,894.21     $1,783.06
     22-1                                    Huntsville, AL 35801
              Eureka, CA 95501
              Specialized Loan Servicing
              LLC
                                             549 E Port Hueneme
     Claim    8742 Lucent Blvd, Suite
                                             Port Hueneme, CA             $274,589.58     $1,148.10
     18-1     300
                                             93041
              Highlands Ranch, CO
              80129
              Fay Servicing Center
     Claim                                   2520 Bangor CT
              PO Box 809441                                               $187,330.01     $916.00
     21-1                                    Snellville, GA 30078
              Chicago, IL 60680-9441
              SN Servicing Center
     Claim                                   3621 Ketch Ave
              323 Fifth Street                                            $245,457.68     $1,193.41
     29-1                                    Oxnard, CA 93035
              Eureka, CA 95501
              Bank of America
     Claim                                   3565 Hemlock
              PO Box 31785                                                $237,872.26     $1,023.07
     17-1                                    Oxnard, CA 93035
              Tampa, FL 33631-3785

(the “Eligible Claims”).

       4.      The Debtor has determined it is in the best interest of his bankruptcy estate to elect
CARES Act Forbearance on each of the Eligible Claims; the Debtor avers that requesting CARES
Act Forbearance will allow him to avoid the expense and uncertainty of modifying his plan of
reorganization, or otherwise liquidating assets in an untimely manner.

       5.      In compliance with the deadlines set in the CARES Act, the Debtor served notice
of his election to forbear on the Eligible Claims as follows:

                                                                              Date         Date
     Claim    Claim Notice Address         Tracking Number (USPS)
                                                                             Mailed      Received
              Rushmore Loan
     Claim    Management Services
                                           9405511899564600081476          12/31/2020     1/7/2021
     20-1     P.O. Box 55004
              Irvine, CA 92619-2708
              SN Servicing
     Claim    Corporation
                                           9405511899564600081490          12/31/2020     1/4/2021
     33-2     323 Fifth Street
              Eureka, CA 95501




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              SN Servicing
     Claim    Corporation
                                          9405511899564600813732         12/31/2020     1/4/2021
     22-1     323 Fifth Street
              Eureka, CA 95501
              Specialized Loan
              Servicing LLC
     Claim    8742 Lucent Blvd,
                                          9405511899564600813886         12/31/2020     1/4/2021
     18-1     Suite 300
              Highlands Ranch, CO
              80129
              Fay Servicing Center
     Claim    PO Box 809441
                                          9405511899564600877857         12/31/2020     1/3/2021
     21-1     Chicago, IL 60680-
              9441
              SN Servicing Center
     Claim
              323 Fifth Street            9405511899564600877758         12/31/2020     1/4/2021
     29-1
              Eureka, CA 95501
              Bank of America
     Claim
              PO Box 31785                9405511899564600877734         12/31/2020     1/3/2021
     17-1
              Tampa, FL 33631-3785

(the Notice of Election”).

       6.      The Debtor states that the Eligible Claims have been properly served with the
Notice of Election.

       7.      Creditor Bank of America [Claim Doc. # 17] filed a notice with this Court on
January 13, 2021 acknowledging receipt of the Debtor’s Notice of Election and stated that the
forbearance period would begin on February 1, 2021 [ECF Doc. # 845].

       8.      The Debtor avers that forbearance period on each of the Eligible Claims also begins
to run on February 1, 2021 for a period of up to 180 days.

       9.      During the forbearance period, the Debtor will continue to make requisite escrow
payments to satisfy insurance and tax obligations.

       10.     The Debtor acknowledges that, pursuant to the CARES Act, all deferred payments
from the forbearance period remain due and payable upon the maturity of the Eligible Claims, or
upon the earlier upon the sale or transfer of the secured-properties, refinancing of any applicable
mortgage-backed loans, or payoff of the interest-bearing unpaid loan balances.




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       Respectfully submitted this the 29th day of January, 2021.
                                            /s/ Tazewell T. Shepard IV
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                                            Tazewell T. Shepard IV
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                               CERTIFICATE OF SERVICE

       This is to certify that I have this the 29th day of January, 2021 served the foregoing
document upon all addressees on the 20 largest unsecured creditors, Richard Blythe, Office of the
Bankruptcy Administrator, and all parties requesting notice, by electronic service through the
Court’s CM/ECF system and/or by placing a copy of the same in the U. S. Mail, postage prepaid.

                                             /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard IV




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